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                                      KALLINEN LAW PLLC
                                      ATTORNEY & COUNSELOR AT LAW
                                      ___________________________________________________


                                     511 Broadway Street, Houston, Texas 77012
                                     Telephone:713.320.3785 FAX:713.893.6737
                                         E-mail: AttorneyKallinen@aol.com
Licensed in all Texas Courts, the United States Supreme Court,
the District Courts for the Eastern, Western, Northern, and
Southern Districts of Texas and the United States Court
of Appeals for the Fifth and Eleventh Circuits


                                                          February 3, 2023

        Michael Smith, Warden (via CMRRR 7021 2720 0002 8338 8034)
        FMC Carswell
        Naval Air Station
        J Street, Building 3000
        Fort Worth, TX 76127
        Telephone:       817/782-4000
        FAX:             817/782-4875

        Re:            inmate Maribel Santana Cerano; Register Number: 99877-479
                       IMMEDIATE MEDICAL CARE NEEDED/MEDICAL RECORDS

        Warden Michael Smith,
            As before inmate Maribel Santana Cerano needs immediate medical care for
        infection. Her wound dressings are not being changed every day as required. This has
        caused unnecessary pain and she is in danger of more serious injury and death unless
        immediate care is administered. She may need additional medicine and surgery.
            Additionally, this law firm needs her medical records for advisement of her
        condition and course of treatment by medical experts of her choosing.
            On November 18, 2022, this law firm wrote FMC Carswell that:

              “As before this law firm represents inmate Maribel Santana Cerano.
              On 18, October 16, 2022, this law firm wrote you that:

                    “Ms. Cerano needs immediate medical care.
                    The director of the DC Prisoners' Project stated in 2009 that Carswell,
              along with FMC Butner and FMC Rochester, “are clearly the ‘gold
              standard’ in terms of what BOP facilities can achieve in providing medical
              care,” and that they had provided “excellent medical care, sometimes for
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              extremely complex medical needs.”
                     The wounds that Ms. Cerano has due to implants needs to be
              addressed with this gold standard care. She is in danger of injury and death
              if the wounds are not treated properly.
                      While any medical injury may arise under The Federal Tort Claims
              Act, in the § 1983 context, a supervisor, such as a warden, may be liable
              where he “affirmatively participates in acts which cause a constitutional
              deprivation, or implements an unconstitutional policy that causally result in
              the plaintiff’s injuries.” Casanova v. City of Brookshire, 119 F. Supp. 2d 639,
              660 (S.D. Tex. 2000) (citing Baker v. Putnal, 75 F.3d 190, 199 (5th Cir.
              1996)); see also Hinojosa v. Livingston, 807 F.3d 657, 669 (5th Cir. 2015).
                     Furthermore, prison officials do not escape liability by utilizing
              contract medical care:

              “Contracting out prison medical care does not relieve the State of its
              constitutional duty to provide adequate medical treatment to those in its
              custody, and it does not deprive the State's prisoners of the means to
              vindicate their Eighth Amendment rights. The State bore an affirmative
              obligation to provide adequate medical care to [the prisoner]; the State
              delegated that function to [a doctor]; and respondent [doctor] voluntarily
              assumed that obligation by contract.” West v. Atkins, 487 U.S. 42, 55-56
              (1988).

                     Based upon Ms. Cerano’s current condition she also requests a
              compassionate release. If she is released, he would get medical care in the
              free world.
                     Now that you are aware of Ms. Cerano’s condition please do not be
              indifferent to that condition. You can contact this firm via email with your
              response.
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             Ms. Cerano still needs immediate care. It was prescribed that Ms. Cerano’s
        wounds be cleaned every day yet this is only happening once a week. Now her wound
        has reopened putting her in grave danger.
             The Federal Tort Claims Act (“FTCA”) (28 U.S.C. sect. 2674) provides that the
        United States is liable for personal injuries and medical malpractice “in the same
        manner as a private individual under like circumstances.” This is NOT a claim
        letter.

                     Furthermore, I have attempted to contact Carswell staff more than
              FIVE times to that I may telephone Ms. Cerano for legal consultation with
              no response.
                     You are aware of Ms. Cerano’s condition so act today and do not be
              indifferent to that condition as further injury and death could result. You can
              contact this firm via email with your response.

           Treat Ms. Cerano for her condition immediately and advise this law office of
        your course of action.

                                                                       SINCERELY YOURS,

                                                                       /s/ Randall L. Kallinen
                                                                       RANDALL L. KALLINEN
         encl./attachment(s):
         RLK/ms
         cc:
